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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 15-960V
                                     Filed: February 25, 2016
                                        Not for Publication


*************************************
ROBERT PETTERSON                            *
                                            *
              Petitioner,                   *                 Damages decision based on
                                            *                 stipulation; influenza (flu) vaccine;
 v.                                         *                 brachial neuritis
                                            *
SECRETARY OF HEALTH                         *
AND HUMAN SERVICES,                         *
                                            *
         Respondent.                        *
                                            *
*************************************
Kyle M. Moore, Gainesville, GA, for petitioner.
Darryl R. Wishard, Washington, DC, for respondent.

MILLMAN, Special Master

                              DECISION AWARDING DAMAGES 1

         On February 24, 2016, the parties filed the attached stipulation in which they agreed to
settle this case and described the settlement terms. Petitioner alleges that he suffered from
brachial neuritis that was caused by his receipt of influenza (“flu”) vaccine on September 12,
2012. He further alleges that he experienced the residual effects of this injury for more than six
months. Respondent denies that the flu vaccine caused petitioner to suffer brachial neuritis or
any other injury and further denies that the flu vaccine caused petitioner’s current disabilities.
Nonetheless, the parties agreed to resolve this matter informally.


1
  Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’s website, in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012)
(Federal Management and Promotion of Electronic Government Services). Vaccine Rule 18(b) states that
all decisions of the special masters will be made available to the public unless they contain trade secrets
or commercial or financial information that is privileged and confidential, or medical or similar
information whose disclosure would constitute a clearly unwarranted invasion of privacy. When such a
decision is filed, petitioner has 14 days to identify and move to redact such information prior to the
document=s disclosure. If the special master, upon review, agrees that the identified material fits within
the banned categories listed above, the special master shall redact such material from public access.
                                                     1
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        The undersigned finds the terms of the stipulation to be reasonable. The court hereby
adopts the parties’ attached stipulation and awards compensation in the amount and on the terms
set forth therein. Pursuant to the stipulation, the court awards a lump sum of
$75,000.00, representing compensation for all damages that would be available under 42 U.S.C.
§ 300aa-15(a) (2012). The award shall be in the form of a check for $75,000.00 made payable to
petitioner.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith. 2


IT IS SO ORDERED.


Dated: February 25, 2016                                                           s/ Laura D. Millman
                                                                                    Laura D. Millman
                                                                                     Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
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